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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION



FORD GLOBAL TECHNOLOGIES, LLC,

        Plaintiff,
                                                   Case No. 3:17-cv-03201-N
v.

NEW WORLD INTERNATIONAL, INC.,
AUTO LIGHTHOUSE PLUS, LLC and
UNITED COMMERCE CENTERS, INC.,

        Defendants.




                                       JUDGMENT

       This action came before the Court for trial before a duly impaneled and sworn jury, and

the Court presided over the jury trial from November 13-16, 2018. On November 16, 2018, the

jury returned a verdict. The verdict was accepted by the Court and filed by the Clerk (DNs 345

and 346). Upon consideration of the Plaintiff’s Motion for Entry of Judgment and Agreed Briefing

Schedule and the verdict handed down by the Jury on November 16, 2018, it is hereby,

       ORDERED, that judgment be entered in favor of the Plaintiff Ford Global Technologies,

LLC (hereinafter “Ford”) and against Defendant New World International, Inc. (hereinafter “New

World”) on Counts I-XIII of the Second Amended Complaint for infringement of U.S. Patent No.

D493,552 titled “Vehicle Headlamp;” U.S. Patent No. D496,890 titled “Vehicle Grill;” U.S. Patent

No. D493,753 “Exterior of Vehicle Hood;” U.S. Patent No. D496,615 titled “Vehicle Side View

Mirror;” U.S. Patent No. D498,444 titled “Front Bumper Fascia;” U.S. Patent No. D501,162 titled

“Front Bumper Fascia;” U.S. Patent No. D510,551 titled “Hood;” U.S. Patent No. D508,223 titled


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“Fender;” U.S. Patent No. D500,717 titled “Sideview Mirror;” U.S. Patent No. D539,448 titled

“Vehicle Taillamp;” U.S. Patent No. D582,065 titled “Headlamp;” U.S. Patent No. D582,969 titled

“Rear Bumper Fascia;” and U.S. Patent No. D582,970 titled “Rear Bumper Fascia,” in the amount

of $493,057.00, and it is further,

       ORDERED, that subject to New World’s right to challenge whether prejudgment interest

is appropriate in this case and subject to New World’s other post-trial motions, prejudgment

interest in the agreed amount of $75,000.00 is awarded to Ford against New World, and it is further

       ORDERED that judgment is entered in favor of Ford and against New World in the total

amount of $568,057.00.



       SIGNED March 4, 2019.

                                             ___________________________________
                                             David C. Godbey
                                             United States District Judge



Agreed as to FORM ONLY:

 /s/ Stephanie Barnes                               /s/ Robert Oake, Jr.
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